                 Case 2:06-cr-00110-RSM            Document 78      Filed 09/21/06     Page 1 of 1



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 7                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 8
 9      UNITED STATES OF AMERICA,

10                                    Plaintiff,                   Case No. CR06-110RSM

11                           v.

12      DEBORAH DOMINIQUE,                                         Minute Order
                                                                   Re: Settlement Conference
13                                   Defendants.

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15
16              THIS matter was referred to these chambers for purposes of a settlement conference by the Honorable
17 Ricardo S. Martinez. The Assistant United States Attorney, defense counsel, and defendant met with U.S.
18 Magistrate Judge, J. Kelley Arnold, this date for purposes of exploring settlement. A plea agreement was
19 reached between the parties and presented to the Honorable Franklin D. Burgess this date.
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                Entered by Deputy Clerk, /s/Kelly Miller, this 21st day of September 2005.
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     ORDER
     Page - 1
